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ROBERT ZINK
Chief, Fraud Section

TRACEE PLOWELL

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Attorneys for Plaintiff

United States of America,

VS.

James B. Panther, Jr.,
a/k/a, “James = Suqui”
Suquilanda”

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Plaintiff,

Defendant.

and “James

 

 

1, PLEA

18 U.S.C. § 1349,

 

2, MAXIMUM PENALTIES
a. A violation of 18 U.S.C. § 1349 is punishable by a maximum term of

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

No. CR-19-00448-PHX-DLR (MH)

PLEA AGREEMENT

Plaintiff, United States of America, and the defendant, James B. Panther, Jr., hereby

agree to dispose of this matter on the following terms and conditions:

The defendant will plead guilty to the following count(s) of the indictment: count

one, conspiracy to commit securities fraud and wire fraud, a class B felony, in violation of

 

 

 
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imprisonment of twenty-five years, a maximum fine of $250,000, or both, and a term of
supervised release of five years.

b. According to the Sentencing Guidelines issued pursuant to the Sentencing
Reform Act of 1984, the Court shall order the defendant to:

(i) make restitution to any victim of the offense pursuant to 18 U.S.C. § 3663
and/or 3663A, unless the Court determines that restitution would not be
appropriate;

(ii) pay a fine pursuant to 18 U.S.C. § 3572, unless the Court finds that a fine
is not appropriate;

(iii) serve a term of supervised release when required by statute or when a
sentence of imprisonment of more than one year is imposed (with the
understanding that the Court may impose a term of supervised release in
all other cases); and

(iv) pay upon conviction a $100 special assessment for each count to
which the defendant pleads guilty pursuant to 18 U.S.C. § 3013.

c, The Court is required to consider the Sentencing Guidelines in determining
the defendant’s sentence. However, the Sentencing Guidelines are advisory, and the Court
is free to exercise its discretion to impose any reasonable sentence up to the maximum set
by statute for the crime of conviction, unless there are stipulations to the contrary that the
Court accepts.

3. AGREEMENTS REGARDING SENTENCING

a. Restitution. Pursuant to 18 U.S.C. § 3663 and/or 3663A, the defendant
specifically agrees to pay full restitution to all victims directly or proximately harmed by
the defendant’s “relevant conduct,” including conduct pertaining to any dismissed counts
or uncharged conduct, as defined by United States Sentencing Guidelines (U.S.S.G.) §
1B1.3, regardless of whether such conduct constitutes an “offense” under 18 U.S.C. §§
2259, 3663 or 3663A. The defendant understands that such restitution will be included in

the Court’s Order of Judgment and that an unanticipated restitution amount will not serve

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as grounds to withdraw the defendant’s guilty plea or to withdraw from this plea agreement.

b. Assets and Financial Responsibility. The defendant shall make a full
accounting of all assets in which the defendant has any legal or equitable interest. The
defendant shall not (and shall not aid or abet any other party to) sell, hide, waste, spend, or
transfer any such assets or property before sentencing, without the prior approval of the
United States (provided, however, that no prior approval will be required for routine, day-
to-day expenditures). The defendant also expressly authorizes the United States
Department of Justice, Criminal Division to immediately obtain a credit report as to the
defendant in order to evaluate the defendant’s ability to satisfy any financial obligation
imposed by the Court. The defendant also shall make full disclosure of all current and
projected assets to the U.S. Probation Office immediately and prior to the termination of
the defendant’s supervised release or probation, such disclosures to be shared with the U.S.
Department of Justice Criminal Division, including the Money Laundering and Asset
Recovery Section, for any purpose. Finally, if the defendant is sentenced to a term of
imprisonment, the defendant shall participate in the Inmate Financial Responsibility
Program to fulfill all financial obligations due and owing under this agreement and the law.

c, Stipulation. If defendant is released on a cash bond, the defendant stipulates
that any cash deposit held by the Clerk of Court to secure the defendant’s appearance (a)
belongs to the defendant and (b) shall be used as payment toward the defendant’s monetary
penalties pursuant to 18 U.S.C. § 3612(c) and 28 U.S.C. § 2044,

d. Acceptance of Responsibility. If the defendant makes full and complete
disclosure to the U.S. Probation Office of the circumstances surrounding the defendant’s
commission of the offense, and if the defendant demonstrates an acceptance of
responsibility for this offense up to and including the time of sentencing, the United States
will recommend a two-level reduction in the applicable Sentencing Guidelines offense
level pursuant to U.S.S.G. § 3E1.1(a). Ifthe defendant has an offense level of 16 or more,
the United States will move the Court for an additional one-level reduction in the applicable

Sentencing Guidelines offense level pursuant to U.S.S.G, § 3E1.1(b).

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4, AGREEMENT TO DISMISS OR NOT TO PROSECUTE

a. This agreement is between defendant and the Criminal Division, Fraud
Section. Other than the offense to which the defendant has entered a plea of guilty, this
office will not prosecute the defendant for any offenses committed by the defendant that
are known by the government at the time of defendant’s plea of guilty.

b. This agreement does not, in any manner, restrict the actions of the United
States in any other district nor bind any other United States Attorney’s Office.
5. COURT APPROVAL REQUIRED; REINSTITUTION OF PROSECUTION

a, If the defendant’s guilty plea or plea agreement is rejected, withdrawn,
vacated, or reversed at any time, this agreement shall be null and void, the United States
shall be free to prosecute the defendant for all crimes of which it then has knowledge and
any charges that have been dismissed because of this plea agreement shall automatically
be reinstated. In such event, the defendant waives any and all objections, motions, and
defenses based upon the Statute of Limitations, the Speedy Trial Act, or constitutional
restrictions in bringing later charges or proceedings. The defendant understands that any
statements made at the time of the defendant’s change of plea or sentencing may be used
against the defendant in any subsequent hearing, trial, or proceeding subject to the
limitations of Fed. R. Evid. 410.
6. WAIVER OF DEFENSES AND APPEAL RIGHTS

a. The defendant waives (1) any and all motions, defenses, probable cause
determinations, and objections that the defendant could assert to the indictment or
information; and (2) any right to file an appeal, any collateral attack, and any other writ or
motion that challenges the conviction, an order of restitution or forfeiture, the entry of
judgment against the defendant, or any aspect of the defendant's sentence, including the
manner in which the sentence is determined, including but not limited to any appeals under
18 U.S.C. § 3742 (sentencing appeals) and motions under 28 U.S.C. §§ 2241 and 2255
(habeas petitions), and any right to file a motion for modification of sentence, including

under 18 U.S.C. § 3582(c). This waiver shall result in the dismissal of any appeal,

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collateral attack, or other motion the defendant might file challenging the conviction, order
of restitution or forfeiture, or sentence in this case. This waiver shall not be construed to
bar an otherwise-preserved claim of ineffective assistance of counsel or of “prosecutorial
misconduct” (as that term is defined by Section II.B of Ariz. Ethics Op. 15-01 (2015)).

7, DISCLOSURE OF INFORMATION

a. The United States retains the unrestricted right to provide information and
make any and all statements it deems appropriate to the U.S. Probation Office and to the
Court in connection with the case.

b, Any information, statements, documents, and evidence that the defendant
provides to the United States pursuant to this agreement may be used against the defendant
at any time.

c. The defendant shall cooperate fully with the U.S. Probation Office. Such
cooperation shall include providing complete and truthful responses to questions posed by
the U.S. Probation Office including, but not limited to, questions relating to criminal
convictions, history of drug abuse, and mental illness; and financial information, including
present financial assets or liabilities that relate to the ability of the defendant to pay a fine
or restitution.

8. FORFEITURE, CIVIL, AND ADMINISTRATIVE PROCEEDINGS

a. Nothing in this agreement shall be construed to protect the defendant from
administrative or civil forfeiture proceedings or prohibit the United States from proceeding
with and/or initiating an action for civil forfeiture. Pursuant to 18 U.S.C. § 3613, all
monetary penalties, including restitution imposed by the Court, shall be due immediately
upon judgment, shall be subject to immediate enforcement by the United States, and shall
be submitted to the Treasury Offset Program so that any federal payment or transfer of
returned property the defendant receives may be offset and applied to federal debts (which
offset will not affect the periodic payment schedule), If the Court imposes a schedule of
payments, the schedule of payments shall be merely a schedule of minimum payments and

shall not be a limitation on the methods available to the United States to enforce the

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judgment.
9. ELEMENTS
Conspiracy to Commit Securities Fraud and Wire Fraud

Beginning in or around 2012 and continuing through in or around October 2013, in
the District of Arizona and elsewhere:

1. There was an agreement between two or more persons to commit the crimes
of wire fraud, in violation of 18 U.S.C. § 1343, and securities fraud, in violation of 18
U.S.C. § 1348; and

2. The defendant became a member of the conspiracy knowing of at least one
of its objects and intending to help accomplish it.
10. FACTUAL BASIS

a. The defendant admits that the following facts are true and that if this matter
were to proceed to trial the United States could prove the following facts beyond a

reasonable doubt:

Beginning in or around 2012, in the District of Arizona and elsewhere, the defendant
was introduced to a sophisticated group of individuals who were actively engaged in a
conspiracy to commit wire fraud led by Francisco Abellan Villena, also known as “Frank
Villena,” “Frank Abel,” “Frank Abellan,” “Oracle,” and “Mark from Spain” (“Abellan”),
Guillermo Ciupiak (“Ciupiak”), Faiyaz Dean (“Dean”) and others. Abellan was the
architect of complex pump and dump stock promotion manipulation schemes and operated
behind the scenes, putting people in place to advance the conspiracy and collecting
proceeds at the conclusion of the scheme. Abellan and Ciupiak, with the assistance of a
Swiss attorney (“Individual 1”), controlled and/or funded numerous entities, to include
Royal Capital Ventures (“Royal”), LeMond Capital (“LeMond”), Allegemeine Finanz &
Investment AG (“AFI”), Foresight Media (“Foresight”), BigBang Studios, Global
Investors Research (“GIR”), and Global Financial Insight (“GFI”’). These entities were

ultimately used in furtherance of the scheme to acquire additional corporate entities;

 
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conceal the true ownership of the entities; produce promotional material; fund marketing
and other entities; and trade shares.

Along with Individual 1, Abellan and Ciupiak facilitated the creation of secured
loan agreements between LeMond and Royal as a means for LeMond to purchase the
going-public vehicle for the “pump and dump” scheme, specifically, Entertainment Art,
Inc. (SEERT”), and to conceal their association with the entity. Dean negotiated the
transaction such that EERT appeared to have a large number of free trading shares when,
in reality, the shares were unregistered, restricted and controlled by an affiliate group of
shareholders and traders controlled by one individual.

Beginning in or around November 2012, the defendant was in frequent
communication with Abellan, Dean, and other participants of the scheme. Defendant
knowingly and willfully joined the conspiracy with the intent to engage in acts in
furtherance of the scheme. Abellan and Ciupiak arranged for ten Argentine nationals (the
“nominee shareholders”) to serve as nominee shareholders of EERT. Abellan, Ciupiak,
Dean, and the defendant engaged in acts in the names of the nominee shareholders. For
example, during March 2013, Dean, who was located in Canada, asked the defendant, via
email, to obtain a signature of one of the nominee shareholders. The defendant complied,
and, or on or about March 29, 2013, sent a responsive email to Dean, attaching a document
containing the JPEG signature of the nominee shareholder, which was then submitted to a
U.S. brokerage house via email in an attempt to clear the shares for trading. Abellan,
Ciupiak, and others created and controlled email accounts in the name of the nominee
shareholders. The defendant facilitated and arranged for the introduction of his
coconspirators to the United States brokerage firms. Five accounts were opened in the
names of the Argentine nominees at a brokerage firm in New York, New York (“the New
York firm”), and EERT shares were deposited into four of the accounts. In connection
with the deposit of the EERT shares at the New York firm, the defendant and Dean
arranged for the issuance of an opinion letter falsely declaring the shares were not required

to bear a restrictive legend and could be sold without registration, At the direction of

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Abellan and with the assistance of Ciupiak and Dean, the defendant provided
documentation to open accounts at brokerage firms, to include California firm (“the
California firm”), and a firm in Scottsdale, Arizona (“the Arizona firm”) within the District
of Arizona. When the nominee shareholders were unable to clear shares at the California
firm, the defendant with the assistance of Dean arranged for the shares to be referred to and
ultimately deposited at the Arizona Firm. In order to facilitate the scheme, the defendant
arranged for the Arizona firm to make policy exceptions to allow the Argentine nominees
to conduct trades via instant messaging (IM).

Abellan, Ciupiak, and Individual 1 also caused accounts to be opened for AFI at the
Arizona firm and an online stockbroker. In early 2013, Abellan connected the defendant
and Individual | so that the defendant could assist Individual 1 in creating subscription
agreements to enable AFI to provide bridge financing for another entity controlled by
Abellan. The defendant also provided Individual 1 with templates for trustee agreements
created by a law firm operated by the defendant’s father. The trustee agreements were used
to funnel money between entities controlled by Abellan and Ciupiak, to include GFI, and
entities controlled by Individual 1 as trustee. After the acquisition of EERT, Abellan,
Ciupiak, Dean, and the defendant began searching for a company to take public. They
identified Opsolution, a German company developing a mobile scanner that would provide
biometric readings from non-invasive skin scans. The Opsolution executives (the
“Executives”) were seeking investors to support commercial development of the product.
At Abellan’s direction, Dean initially communicated with the Executives and obtained due
diligence material, including a confidential business plan with detailed financial
projections, on the product. Dean’s initial efforts were unsuccessful. Thereafter, the
defendant was directed to approach the Executives, on behalf of his conspirators, to pitch
the investment opportunity. The defendant executed a service agreement between
EERT/LeMond and Devkom International, an entity controlled by the defendant wherein

the defendant would provide consulting services in exchange for a total of $41,300 and an

 
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hourly fee of $275 per hour for work exceeding 180 hours in support of his efforts to
negotiate the acquisition of Opsolution for the conspiracy.

In or around early January 2013, in furtherance of the conspiracy, the defendant met
with the Executives in Zurich, Switzerland. On behalf of his coconspirators, the defendant
offered to help the Executives navigate entry into the U.S. stock market to raise additional
funds as a public company. To that end, the defendant negotiated an initial investment of

$2 million into Opsolution on behalf of LeMond.

At the defendant’s direction, the Executives provided the defendant with a
confidential business plan, including detailed financial projections. This was the same plan
initially presented to Dean and later included in an investment publication created by
members of the conspiracy. The defendant then provided the Executives with a detailed
schedule for the issuance of press releases and a list of proposed topics for the releases.
The defendant told the Executives that the press releases would help increase the stock
price on the public market.

As a result of the reverse merger, EERT became Biozoom, Inc. (“Biozoom”) in or
around March 2013. Shares of Biozoom constituted securities registered under section 12
of the Securities Exchange Act of 1934 or the securities of an issuer required to file reports
under section 15(f) of the Securities Exchange Act of 1934. After the reverse merger,
Abellan and the coconspirators manipulated the price of Biozoom shares through the
dissemination of misleading and exaggerated promotional materials designed to give the
appearance of a deep liquid market thereby inducing victim investors to buy the stock with
the eventual goal of the coconspirators selling the artificially-inflated stock at the height of
the market for a profit, The factual information contained in the marketing materials was
obtained from the initial due diligence material provided to the defendant and Dean by the
Executives. The promotional mailing campaign cost more than $4 million and was
conducted without the knowledge or authorization of the Executives, the purported owners
of Biozoom.

The defendant understands and admits that the purpose of the promotional

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campaigns was to convince individuals to invest in shares of Biozoom and that the
information in the mailers touting the stocks was designed to appear to be independent
stock analysis, when in fact the content was created by Abellan and other coconspirators
through GIR, GFI, and Foresight. The defendant understands and admits that these
promotional materials contained misleading and exaggerated claims about the Biozoom
scanner. Defendant assisted his coconspirators with the promotional campaign, including
communicating with a U.S.-based printing company to arrange the wire transfer of funds
used to purchase Biozoom mailers, identifying offshore banks which were later used to
deposit proceeds from the scheme, providing legal document templates for loan and trust
agreements used to transfer funds, and creating invoices, to include an invoice in the
amount of $374,748, which falsely stated that the law firm provided legal services in order
to receive and conceal the nature of funds, proceeds from the illegal scheme.

From on or around May to June 2013, the defendant was present in Barcelona, Spain
and assisted Abellan with trading in the Argentine nominee accounts using IM. While in
Barcelona, the defendant monitored Biozoom trading and was in frequent contact with the
Arizona brokerage house and others to check on the status of the accounts he referred.

Prior to May 16, 2013, no shares of Biozoom were traded. On May 16, 2013, the
“pump” of Biozoom shares began in the form of the coordinated promotional campaign.
Over the course of about four weeks from mid-May to late June 2013, almost 88 million
shares of Biozoom were traded and the stock price increased from about $1.10 per share to
$4 per share. Approximately $34 million dollars in sales were realized from the trading of
Biozoom shares. Once the stock price attained significant gains in June 2013, Abellan and
Ciupiak “dumped” the Biozoom shares held in the name of the nominee shareholders and
sent the proceeds to offshore banks they established in the names of the nominee
shareholders. The profits from the sale of Biozoom shares resulted from the purchase of
shares by members of the investing public,

On or about June 25, 2013, the SEC suspended trading of Biozoom and ultimately

froze $16 million of proceeds from the scheme, After the SEC halted trading in Biozoom,

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the defendant attempted to have the Executives sign a back-dated consulting agreement for
the defendant relating to his work for Biozoom. The defendant told the Executives that the
agreement would allow him to shield their communications with attorney-client privilege.
The defendant, however, was not an attorney. The agreement also sought additional
compensation. The defendant admits that he, Abellan, Ciupiak, Dean, and others
participated in a scheme to obtain Biozoom shares in order to manipulate the price through
the dissemination of misleading and exaggerated promotional materials designed to induce
victim investors to the coconspirators to sell the stock they held at a profit. The defendant
admits that he and his coconspirators used international and interstate wires in furtherance
of the scheme, to include, communicating by telephone, email, and instant messaging to
U.S. brokerage houses and entities, including the Arizona firm and the Arizona printer; and
transferring funds to and/or from the Arizona firm and the Arizona printer from domestic
and international financial institutions via wire transfer, in furtherance of the scheme. The
defendant further admits that the profit from the sale of the Biozoom shares were proceeds
of an illegal scheme, and that the transfer of the funds from the brokerage houses to the
foreign bank accounts were financial transactions involving the proceeds of unlawful
activity designed to conceal or disguise the true ownership or control of the ill-gotten
proceeds.

b. The defendant shall swear under oath to the accuracy of this statement and,
if the defendant should be called upon to testify about this matter in the future, any
intentional material inconsistencies in the defendant’s testimony may subject the defendant
to additional penalties for perjury or false swearing, which may be enforced by the United
States under this agreement. .

APPROVAL AND ACCEPTANCE OF THE DEFENDANT

I have read the entire plea agreement with the assistance of my attorney. I
understand each of its provisions and I voluntarily agree to it.

I have discussed the case and my constitutional and other rights with my attorney.

] understand that by entering my plea of guilty I shall waive my rights to plead not guilty,

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to trial by jury, to confront, cross-examine, and compel the attendance of witnesses, to
present evidence in my defense, to remain silent and refuse to be a witness against myself
by asserting my privilege against self-incrimination, all with the assistance of counsel, and
to be presumed innocent until proven guilty beyond a reasonable doubt.

I agree to enter my guilty plea as indicated above on the terms and conditions set
forth in this agreement.

I have been advised by my attorney of the nature of the charges to which I am
entering my guilty plea. I have further been advised by my attorney of the nature and range
of the possible sentence and that my ultimate sentence shall be determined by the Court
after consideration of the advisory Sentencing Guidelines.

My guilty plea is not the result of force, threats, assurances, or promises, other than
the promises contained in this agreement. I voluntarily agree to the provisions of this
agreement and I agree to be bound according to its provisions.

I understand that if | am granted probation or placed on supervised release by the
Court, the terms and conditions of such probation/supervised release are subject to
modification at any time. I further understand that if I violate any of the conditions of my
probation/supervised release, my probation/supervised release may be revoked and upon
such revocation, notwithstanding any other provision of this agreement, I may be required
to serve a term of imprisonment or my sentence otherwise may be altered.

This written plea agreement, and any written addenda filed as attachments to this
plea agreement, contain all the terms and conditions of the plea. Any additional
agreements, if any such agreements exist, shall be recorded in a separate document and
may be filed with the Court under seal; accordingly, additional agreements, if any, may not
be in the public record,

I further agree that promises, including any predictions as to the Sentencing
Guideline range or to any Sentencing Guideline factors that will apply, made by anyone
(including my attorney) that are not contained within this written plea agreement, are null

and void and have no force and effect.

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I am satisfied that my defense attorney has represented me in a competent manner.
I fully understand the terms and conditions of this plea agreement. I am not now
using or under the influence of any drug, medication, liquor, or other intoxicant or
depressant that would impair my ability to fully understand the terms and conditions of this
plea agreement.
05.26.2020 Janie
Date JAMES B. PANTHER, JR.
Defendant

 

 

APPROVAL OF DEFENSE COUNSEL

I have discussed this case and the plea agreement with my client in detail and have
advised the defendant of all matters within the scope of Fed. R. Crim. P. 11, the
constitutional and other rights of an accused, the factual basis for and the nature of the
offense to which the guilty plea will be entered, possible defenses, and the consequences
of the guilty plea including the maximum statutory sentence possible. I have further
discussed the concept of the advisdigxtSentencing Guidelines with the defendant. No
assurances, promises, or representations have been given to me or to the defendant by the
United States or any of its representatives that are not contained in this written agreement.
I concur in the entry of the plea as indicated above and that the terms and conditions set
forth in this agreement are in the best interests of my client. I agree to make a bona fide
effort to ensure that the guilty plea is entered in accordance with all the requirements of
Fed. R. Crim. P. 11.

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Date ° Dennis Burke, Esq.
Mark Kokanovitel, Esq.
Attorneys for Defendant

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